               Case 1:19-bk-12728                     Doc 4          Filed 07/25/19 Entered 07/25/19 14:23:39            Desc Main
                                                                                                                                        7/25/19 2:22PM
                                                                     Document      Page 1 of 2

 Fill in this information to identify your case:

 Debtor 1                  Roger Scott Robinson
                           First Name                       Middle Name              Last Name

 Debtor 2                  Tawnya R Robinson
 (Spouse if, filing)       First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:              SOUTHERN DISTRICT OF OHIO

 Case number
 (if known)                                                                                                              Check if this is an
                                                                                                                         amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                            12/15


If you are an individual filing under chapter 7, you must fill out this form if:
    creditors have claims secured by your property, or
  you have leased personal property and the lease has not expired.
You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
        whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
        on the form

If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
         sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
        write your name and case number (if known).

 Part 1:        List Your Creditors Who Have Secured Claims

1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
   information below.
    Identify the creditor and the property that is collateral  What do you intend to do with the property that    Did you claim the property
                                                               secures a debt?                                    as exempt on Schedule C?



    Creditor's         Capital One Auto Finance                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2018 Dodge Ram 44000 miles                        Reaffirmation Agreement.
    property                                                                Retain the property and [explain]:
    securing debt:



    Creditor's         Huntington National Bank                             Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        2010 Toyota Venza 125,500                         Reaffirmation Agreement.
    property              miles                                             Retain the property and [explain]:
    securing debt:



    Creditor's         Pacific Union Financial                              Surrender the property.                     No
    name:                                                                   Retain the property and redeem it.
                                                                            Retain the property and enter into a        Yes
    Description of        360 County Road 105 Kitts Hill,                   Reaffirmation Agreement.
    property              OH 45645 Lawrence County
                                                                            Retain the property and [explain]:


Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                          page 1

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            Case 1:19-bk-12728                        Doc 4          Filed 07/25/19 Entered 07/25/19 14:23:39                            Desc Main
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 Debtor 1      Roger Scott Robinson
 Debtor 2      Tawnya R Robinson                                                                      Case number (if known)


     securing debt:                                                       reaffirm under loan modification


     Creditor's    Town Square/City Nation                                  Surrender the property.                                     No
     name:                                                                  Retain the property and redeem it.
                                                                            Retain the property and enter into a                        Yes
     Description of     2015 Polaris Ranger                                 Reaffirmation Agreement.
     property                                                               Retain the property and [explain]:
     securing debt:

 Part 2:   List Your Unexpired Personal Property Leases
For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet ended.
You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

 Describe your unexpired personal property leases                                                                              Will the lease be assumed?

 Lessor's name:               AT&T Wireless                                                                                       No

                                                                                                                                  Yes

 Description of leased        Cell Phone Contract 123.00
 Property:

 Lessor's name:               AT&T Wireless                                                                                       No

                                                                                                                                  Yes

 Description of leased        Debtor Wife's cell phone contract 95.00
 Property:

 Lessor's name:               Jones Property Holdings                                                                             No

                                                                                                                                  Yes

 Description of leased        Debtor Wife's rental home 750.00
 Property:



 Part 3:      Sign Below

Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any personal
property that is subject to an unexpired lease.

 X     /s/ Roger Scott Robinson                                                     X /s/ Tawnya R Robinson
       Roger Scott Robinson                                                             Tawnya R Robinson
       Signature of Debtor 1                                                            Signature of Debtor 2

       Date        July 25, 2019                                                    Date     July 25, 2019




Official Form 108                                       Statement of Intention for Individuals Filing Under Chapter 7                                      page 2

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